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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
Case No. 2:17-cr-151
v. CHIEF JUDGE EDMUND A. SARGUS, JR.
SALIM DAH])AH, M.D.,
et al.,
Defendants.

ORDER MEMORIALIZING FINAL PRETRIAL CONFERENCE
On July 27, 2018, the parties came before the Court for a final pretrial conference. In
accordance with the Court’s rulings on the record, the motions in limine are hereby GRANTED

in part and DENIED in part. (ECF Nos. 31, 32.)

 

 

IT IS SO ORDERED.
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DATED ED . SARGUS, JR.

UNITE ATES DISTRICT JUDGE

